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  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 3076                                                       FTX Collapse Litigation
MDL No. _____________ & TITLE - IN RE: __________________________________

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

See attached Schedule of Actions.
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                 Prager Metis CPAs, LLC
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR
✔       This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Irene Yang                                                                      Sidley Austin LLP
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


555 California Street                                                             San Francisco, CA 94104
___________________________ ___________________________________
       Address                                                                                          City/State/Zip Code

       March 3, 2023
Date _____________________

Instructions:

1. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.
3. Click on Corporate Disclosure Statement. Select Next.
4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.
5. If this is the correct MDL No., select next. Also, select next for the following screen.
6. Choose the cases for which the Disclosure Statement is being filed.
7. Select the party filing the Disclosure Statement
8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).
9. Upload the Corporate Disclosure Form and any attachments as a PDF document.
10. Submit the Disclosure Statement by selecting the Next button.
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                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


 IN RE: FTX COLLAPSE LITIGATION                     MDL Docket: 3076


                                    SCHEDULE OF ACTIONS

                                                      Civil Action
    Plaintiffs              Defendants                                 District         Judge
                                                          No.

                     Samuel Bankman-Fried
                     Thomas Brady
                     Gisele Bundchen
                     Stephen Curry
                     Golden State Warriors
                     LLC
Edwin Garrison       Shaquille O’Neal
Gregg Podalsky       Udonis Haslem
Skyler Lindeen       David Ortiz                                                  Judge K. Michael
Alexander                                                                         Moore
                     William Trevor Lawrence        1:22-cv-23753    S.D. Fla.
Chernyavsky                                                                       Magistrate Judge
                     Shohei Ohtani
Gary Gallant                                                                      Jacqueline Becerra
                     Naomi Osaka
David Nicol
                     Lawrence Gene David
Sunil Kavuri
                     Kevin O’Leary
                     Caroline Ellison
                     Sam Trabucco
                     Gary Wang
                     Nishad Singh
                     Dan Friedberg

                     Silvergate Bank                                              Judge Roger T.
                                                                                  Benitez
Joewy Gonzalez       Silvergate Capital Corp.       3:22-cv-01981    S.D. Cal.
                                                                                  Magistrate Judge
                     Alan J. Lane                                                 William V. Gallo




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                                                     Civil Action
    Plaintiffs              Defendants                               District         Judge
                                                         No.

                     Samuel Bankman-Fried
                     Caroline Ellison
                     Zixiao “Gary” Wang                                         Judge Jacqueline
Russell Hawkins                                     3:22-cv-07620   N.D. Cal.
                     Nishad Singh                                               Scott Corley
                     Armanino, LLP
                     Prager Metis CPAs, LLC

Andrawes Husary
                     Silvergate Bank                                            Judge Roger T.
Francisco De
                                                                                Benitez
Tomaso               Silvergate Capital Corp.       3:23-cv-00038   S.D. Cal.
                                                                                Magistrate Judge
Soham Bhatia         Alan J. Lane                                               William V. Gallo
Michael Hawwa

                     Samuel Bankman-Fried
                     Caroline Ellison
Michael Elliott                                                                 Judge Jacqueline
                     Nishad Singh                   3:22-cv-07666   N.D. Cal.
Jessup                                                                          Scott Corley
                     Gary Wang
                     Sam Trabucco




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                                                    Civil Action
    Plaintiffs               Defendants                             District         Judge
                                                        No.

Elliott Lam
Julia Papadakis
Russell Hawkins


Movants:
Michael Elliott
Jessup
                      Samuel Bankman-Fried
Stephen T. Pierce
                      Caroline Ellison                                         Judge Jacqueline
Julie Chon                                         3:22-cv-07336   N.D. Cal.
                                                                               Scott Corley
Papadakis             Golden State Warriors,
                      LLC
Soham Bhatia
Matson Magleby
Golam Sakline
Nicole Keane


Interested Party:
Patrick Rabbitte

Michael Norris
Brandon Rowan
                      Thomas Brady
Michael Livieratos                                                             Judge Cecilia M.
                      Kevin O’Leary                1:23-cv-20439   S.D. Fla.
Shengyun Huang                                                                 Altonaga
                      David Ortiz
Vijeth Shetty
Bo Yang

                      Samuel Bankman-Fried
                      Caroline Ellison
                      Zixiao Gary Wang                                         Judge Jacqueline
Julie Papadakis                                    3:23-cv-00024   N.D. Cal.
                      Nishad Singh                                             Scott Corley
                      Armanino, LLP
                      Prager Metis CPAs, LLC



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                                                    Civil Action
    Plaintiffs              Defendants                              District         Judge
                                                        No.

                     Samuel Bankman-Fried
                     Caroline Ellison
                     Zixiao Wang                                               Judge Jacqueline
Stephen T. Pierce                                  3:22-cv-07444   N.D. Cal.
                     Nishad Singh                                              Scott Corley
                     Armanino, LLP
                     Prager Metis CPAs, LLC

                     Samuel Bankman-Fried
                     Tom Brady
                     Gisele Bundchen
                     Kevin O’Leary
                     Udonis Haslem
                     David Ortiz
Gregg Podalsky
                     Caroline Ellison
Skyler Lindeen
                     Sam Trabucco
Alexander
Chernyavsky          Gary Wang
                                                                               Judge K. Michael
                     Nishad Singh                  1:22-cv-23983   S.D. Fla.
Gary Gallant                                                                   Moore
David Nicol          Dan Friedberg
Sunil Kavuri         Stephen Curry
Edwin Garrison       Golden State Warriors
                     LLC
                     Shaquille O’Neal
                     William Trevor Lawrence
                     Shohei Ohtani
                     Naomi Osaka
                     Lawrence Gene David




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                                                   Civil Action
    Plaintiffs            Defendants                               District         Judge
                                                       No.

                   Silvergate Capital Corp.
Jose Tomas                                                                    Judge Roger T.
                   Alan J. Lane
Sepulveda Zuleta                                                              Benitez
                   Christopher M. Lane            3:22-cv-01901   S.D. Cal.
Michael Lehrer                                                                Magistrate Judge
                   Tyler J. Pearson                                           William V. Gallo
Tristan Newman
                   Jason Brenier




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